           Case 1:20-vv-00023-UNJ Document 49 Filed 11/09/21 Page 1 of 5




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-23V
                                          UNPUBLISHED


    MEGAN ZYNKIAN,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: October 8, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

      On January 8, 2020, Megan Zynkian filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused by an influenza vaccine administered on September 26,
2018. Petition at ¶¶ 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

       On June 29, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for a SIRVA. On October 6, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $50,000.00 for pain and
suffering. Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-00023-UNJ Document 49 Filed 11/09/21 Page 2 of 5



the proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled
to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $50,000.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
          Case 1:20-vv-00023-UNJ Document 49 Filed 11/09/21 Page 3 of 5




            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                    )
MEGAN ZYNKIAN,                      )
                                    )
                                    )
            Petitioner,             )
                                    )   No. 20-23V
      v.                            )   Chief Special Master Corcoran
                                    )   ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On January 8, 2020, Megan Zynkian (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986 (“Vaccine Act” or “Act”).

See 42 U.S.C. §§ 300aa-1 et seq. Petitioner alleges that she suffered a shoulder injury related to

vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine intramuscularly

administered in her left shoulder on September 26, 2018. See Petition at 1. On June 22, 2021,

the Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating

that this case is appropriate for compensation under the terms of the Act for a SIRVA Table

injury, and on June 29, 2021, the Chief Special Master issued a Ruling on Entitlement finding

petitioner entitled to compensation. ECF No. 38; ECF No. 40.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $50,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
          Case 1:20-vv-00023-UNJ Document 49 Filed 11/09/21 Page 4 of 5



       This amount represents all elements of compensation to which petitioner is entitled under

42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $50,000.00, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Megan Zynkian:                $50,000.00

                                                             Respectfully submitted,

                                                             BRIAN M. BOYNTON
                                                             Acting Assistant Attorney General

                                                             C. SALVATORE D’ALESSIO
                                                             Acting Director
                                                             Torts Branch, Civil Division

                                                             HEATHER L. PEARLMAN
                                                             Deputy Director
                                                             Torts Branch, Civil Division

                                                             DARRYL R. WISHARD
                                                             Assistant Director
                                                             Torts Branch, Civil Division




1 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
        Case 1:20-vv-00023-UNJ Document 49 Filed 11/09/21 Page 5 of 5



                                               s/ Ronalda E. Kosh
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DATED: October 6, 2021
